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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
12-10120-GAO

                            UNITED STATES OF AMERICA


                                            v.


                                  ALFRED VAZQUEZ
                                and EDGAR ACEVEDO


                ORDER ON DEFENDANTS’ JOINT MOTION TO COMPEL

       Defendants’ Joint Motion to Compel (Docket No. 22) is ALLOWED IN PART and

DENIED IN PART.

       By August 20, 2012, the Government shall produce unredacted copies of FBI

reports previously produced in discovery, with such production to be subject to the

limitation that the document review be limited to defense counsel, paralegals and

investigators. No broader review of the documents shall be made without further order

of the court.

       It is expected that the documents shall disclose the names and birth dates of the

victim, his wife, his father-in-law, and the man interviewed along with the defendant

Acevedo. If such information is not included in the unredacted documents, and the

Government otherwise declines to produce such information at this time, the

Defendants may file another motion to compel.


                                                   / s / Judith Gail Dein
                                                 Judith Gail Dein
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DATED: July 30, 2012                   U.S. Magistrate Judge
